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                    IN THE UNITED STATES DISTRICT COURT FOR
                        THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

UNITED STATES OF AMERICA

V   .                                            CASE NO. CR414-005
                                                           U
CARL EVAN SWAIN,                                           tndern DkArki o
                                                               R41nc1GO
           Defendant.


                                   0 R D E R

           Before the Court is Defendant's Motion to Merge Counts

for Sentencing. (Doc. 315.) In this motion, Defendant

argues that the evidence presented at trial establishes

that counts one and two of the second superseding

indictment—conspiracy to commit murder for hire and

conspiracy to commit murder, respectively—are

multiplicious. (Id. 91 5.) Defendant, therefore, argues that

these counts should be merged for the purposes of

sentencing. (Id. 91 6.) The Government has elected not to

respond to Defendant's motion.

           Defendant previously filed a Motion to Dismiss

Multiplicious Counts. (Doc. 280.) In denying that motion

(Doc. 293), the Court noted that counts are muLtiplicious

when a single offense is charged               in more than one count.

United States v. Sirang, 70 F.3d 588, 595 (11th Cir. 1995)

(quoting United States v. Howard, 918 F.2d 1529, 1532 (11th
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Cir. 1990)). Additionally, two counts are not multiplicious

where one count " 'requires proof of an additional fact

which the other does not.' " United States v. Anderson, 872

F.2d 1508, 1520 (11th Cir. 1989) (quoting Ward v. United

States, 694 F.2d 654, 661 (11th Cir. 1982))

     After reviewing Defendant's motion, the Court once

again concludes that counts one and two are not

multiplicious. As the Court previously discussed (Doc.

293), the statutory provisions underlying counts one and

two, while very similar, require the Government to prove

slightly different facts.' Moreover, the two counts are

charged under separate conspiracy statutes. 2 See Anderson,

872 F.2d at 1520 (holding counts not multiplicious where

based on separate statutory provisions prohibiting specific

types of conspiracies rather than being grounded in only

' Conspiracy to commit murder for hire requires that the
Government prove Defendant conspired (1) to use or cause
another to use any facility of interstate or foreign
commerce; (2) the intention that murder be committed; and
 (3) the existence of a promise or agreement to pay anything
of pecuniary value as consideration for committing the
murder. Conspiracy to commit murder only requires the
Government to prove Defendant conspired to cause the death
of the victim with (1) malice aforethought and (2)
premeditated intent.
2
   Conspiracy to commit murder for hire is charged under a
general conspiracy statute, 18 U.S.C. § 371, which
prohibits two or more individuals from conspiring to commit
any offense against the United States. Conspiracy to commit
murder, however, is charged under a specific conspiracy
statute, 18 U.S.C. § 1117, which expressly prohibits two or
more individuals from conspiring to commit murder.
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general   conspiracy     statute) .    Accordingly,     Defendant's

motion is DENIED.

     Attempting to sidestep the Court's previous ruling,

Defendant contends that counts one and two are

multiplicious because the evidence actually adduced at

trial establishes that the same conduct by Defendant forms

the basis for his conviction on both counts. (Doc. 315

¶ 5.) However, the Court can find no legal basis for

Defendant's argument. Even assuming the evidence presented

at trial shows that Defendant's convictions on counts one

and two are based on the exact same conduct, the simple

fact remains that the Government was required to prove

separate and distinct elements with respect to each count.

It is unsurprising that a defendant's actions may result in

the violation of multiple statutory provisions and leave

him to face multiple sentences for one singular course of

conduct. Ultimately, the Court is unpersuaded by

Defendant's argument and concludes that counts one and two

need not be merged for sentencing.

     SO ORDERED this /8day of May 2015.




                                  WILLIAM T. MOORE, JV
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA



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